
In re Barnes, Oliver; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court, Div. H, No. 98-3030; to the Court of Appeal, Fifth Circuit, No. 99-KH-1193.
Writ granted in part; otherwise denied. If it has not done so already, the district court is ordered to supply relator with a copy of his guilty plea colloquy. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In ah other respects the application is denied. State ex rel. Bernard v. Cr.D.C., 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
